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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :
               v.                             :      Case No. 1:21-CR-00334 (TJK)
                                              :
TARA AILEEN STOTTLEMYER,                                             :
                                              :
                       Defendant.             :

RESPONSE TO MOTION TO MODIFY TERMS AND CONDITIONS OF SUPERVISED
                           RELEASE

       The United States submits this response to Defendant’s Motion to Modify Terms and

Conditions of Supervised Release. (ECF-130), and this Court’s July 3, 2024 Minute Order. After

consultation with the Probation Office, the government does not object to a modification of

Defendant’s conditions of supervised release requiring her to remain on her property but allowing

the Defendant to leave her house for up to 16 hours a day, in order to work on her farm. However,

the government does oppose a complete cessation of the Defendant’s home detention.

       On January 6, 2021, the defendant joined a riotous mob that overtook the Capitol building

and halted the Certification of the 2020 Election. On that date, Stottlemyer traveled to Washington,

D.C. from Bentleyville, Pennsylvania with Dale Shalvey and codefendant Katharine Morrison, for

the purpose of protesting Congress’ certification of the Electoral College vote. ECF 74 ¶8. While

on restricted Capitol grounds, Stottlemyer witnessed Shalvey throw an object that hit a D.C.

Metropolitan Police Officer. Id. ¶10. Stottlemyer later breached the Capitol building through the

Senate Wing Doors. Id. ¶11. From there she went to various areas within the building, including,

but not limited to, the Crypt, the Speaker of the House’s Suite, the Rotunda, and the Senate

Chamber. Id. While in the Senate Gallery hallway, Shalvey showed Stottlemyer and Morrison

zip ties and handcuff restraints that he had. Id. ¶12. After seeing the restraints, Stottlemyer,
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Shalvey, and Morrison went to the Senate Chamber Press Gallery and then the Senate Chamber.

Id. While in the Senate Chamber, Stottlemyer took pictures of the documents in and on Senators’

desks. Id. She was inside the Senate Chamber for approximately 30 minutes and within the

restricted Capitol building without authorization for approximately 45 minutes. Id. ¶13.

         On October 3, 2022, Stottlemyer entered a plea of guilty to Count Three of the Fourth

Superseding Indictment, ECF 48, charging her with Obstruction of an Official Proceeding in

violation of 18 U.S.C. §§ 1512(c)(2) and 2. On May 11, 2023, this Court imposed a sentence of

eight months’ incarceration, followed by a term of supervised release that included as one

condition eight months of home detention. ECF 114. Because the defendant had recently given

birth, the Court allowed her to report to the Bureau of Prisons nearly seven months after the date

of her sentencing. Judgment was entered on May 15, 2023. Stottlemyer now seeks post-conviction

relief pursuant to Fischer v. United States, No. 23-5572, 603 U.S. ---, 2024 WL 3208034 (June 28,

2024).

         In the months preceding Stottlemyer’s guilty plea and through her sentencing, United

States v. Miller, 589 F.Supp.3d 60 (D.D.C. 2022)1 and Fischer were litigated in this district,

through the D.C. Circuit, and ultimately before the Supreme Court, which issued its decision on

Friday, June 28, 2024. In Fischer, the Supreme Court held that Section 1512(c)(2) does not cover

“all means of obstructing, influencing, or impeding any official proceeding.” See Fischer, 2024

WL 3208034 at *6. However, the Court did not reject the application of § 1512(c)(2) to January 6

prosecutions. Rather, the Court explained that the government must establish that a defendant




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 In Miller and Fischer, the Honorable Carl J. Nichols dismissed Section 1512 counts against
defendants charged for their role in the January 6 Capitol riot. These cases and an additional
case were consolidated before the D.C. Circuit in the resulting appeals from the orders of
dismissal.

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impaired the availability or integrity for use in an official proceeding of records, documents,

objects, or other things used in the proceeding – such as witness testimony or intangible

information – or attempted to do so. Id. at *10. The Supreme Court remanded the case to the D.C.

Circuit for further proceedings. Id. Through those further proceedings, the court of appeals will

interpret the scope of the statute further, which may or may not include circumstances like certain

facts in this case, where Stottlemyer intended to stop the certification proceeding and impair the

availability or use of the votes and ballots underlying the certification. See id. at *10 (delineating

that it would still remain a crime to attempt to impair the integrity or availability of records,

documents, objects, or other things used in the proceeding); id. at *14 (Jackson, J., concurring)

(“And it might well be that Fischer’s conduct, as alleged here, involved the impairment (or the

attempted impairment) of the availability or integrity of things used during the January 6

proceeding”); see also ECF 74 ¶ 12 (Stottlemyer “took photos of documents that were in and on

Senators’ desks.”); see also ECF 105 at 15 (“Once inside, Morrison, Shalvey, and Stottlemyer

rifled through Senators’ desks, and took pictures of documents on, and in, their desks.”); ECF 105-

1 at 4-6 (describing video evidence of Stottlemyer looking at, handling, and photographing

documents in the Senate Chamber); see also May 11, 2023 (“Sentencing Tr.”) 98:6-14 (“[Y]ou are

in a select group of people who made it to the Senate floor and then even on top of that, a very

select group of people who were on the Senate floor rifling through the belongings of other

people.”).

       Pursuant to 18 U.S.C. § 3583, “after considering the factors set forth in section 3553(a)(1),

(a)(2)(B), (a)(2)(C), (a)(2)(D), (a)(4), (a)(5), (a)(6), and (a)(7)” the Court can “modify . . . the

conditions of supervised release, at any time prior to the expiration or termination of the term of

supervised release”. 18 U.S.C. § 3583(e), (e)(2). In May 2023, when the Defendant was initially




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sentenced, the Court explicitly considered and sentenced the Defendant based on the factors

outlined in 18 U.S.C. § 3553(a), including the Defendant’s role in maintaining a farm in North

Carolina. Sentencing Tr. at 93:9-13 (“[The Court has] assessed the particular facts of this case in

light of the relevant 3553(a) factors”); 102:24-103:8 (“the other – the other characteristic of each

defendant that is important is their role maintaining their farms that they help maintain”); 110:5-

19 (“And out of the recognition of the rather extreme burden that being in prison will have on your

family under the circumstances here, with a new baby and with -- and the fact that you and your

husband are running your family farm. I'm trying to minimize that burden while also recognizing

the other factors that I have to, that Congress has told me I have to consider in crafting an

appropriate sentence.”) Defendant contends that those factors have now changed given the

Supreme Court’s recent decision in Fischer. The government disagrees. Given the remand to the

Circuit and the ongoing litigation in Fischer, the government is still evaluating Fischer’s impact

on this and other January 6 cases. However, as indicated above, Defendant’s conduct may very

well meet the changed standard for 18 U.S.C. §§ 1512(c)(2) and 2. Additionally, the Defendant

pleaded guilty to her crime while United States v. Fischer, 64 F.4th 329 (D.C. Cir. 2023), the

predicate case to the recent Supreme Court decision, was being briefed in the Circuit. This

Defendant stands in a different procedural posture that may bear on her motion to vacate. Finally,

unlike at least one of her co-defendants, the Court allowed the Defendant to delay her sentence for

six months; thus, even if this Court were to hypothetically grant relief, Stottlemyer’s Section 2255

petition will not be rendered moot before this Court can issue a decision.

       In light of these considerations, the government does not believe that removal of a

condition of supervised release is warranted. Instead, the government, in consultation with the

Probation Office, does not oppose adjusting the existing condition of home detention so that




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Defendant may leave her house, but remain on her property containing both her home and her

farm, for up to 16 hours a day, in order to work on her farm.

                                                     Respectfully submitted,

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